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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

GABRIEL GONZALEZ,
Inmate No. 30515-112,
      Plaintiff,

vs.                                            Case No.: 5:16cv34/LAC/EMT

KENDES ARCHER, M.D., et al,
     Defendants.
____________________________________/

                     ORDER ON SUMMARY JUDGMENT

      Plaintiff, an inmate of the Federal Bureau of Prisons proceeding pro se,

initiated this action by filing a civil rights complaint. Because Plaintiff sues federal

employees concerning his treatment at the Federal Correctional Institution at

Marianna, Florida (“FCIM”), his complaint is properly construed under the federal

counterparts to Section 1983, 28 U.S.C. § 1331 and Bivens v. Six Unknown Named

Agents of Fed. Bureau of Narcotics, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619

(1971). Presently before the court is Defendants’ Motion for Summary Judgment and

incorporated Statement of Facts and Memorandum of Law with attached supporting

evidentiary materials (Doc. 70). Plaintiff filed a response to the motion for summary

judgment along with evidentiary materials (Docs. 76, 78, 80).            After careful
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consideration of all issues raised by the parties, the Court finds that Defendants’

motion for summary judgment should be granted.

I.     INTRODUCTION

       Plaintiff’s complaint concerns the fact that he could no longer obtain his

prescribed medication for his gastroesophageal reflux disease (“GERD”). He alleges

that Defendants knew of his serious medical condition; denied him his needed

medication, instructing him to obtain it from the prison commissary instead; and,

when the commissary had limited or no supply of his medication, failed to intervene.

Plaintiff thus complains that Defendants’ actions amounted to deliberate indifference

to his serious medical needs in violation his Eighth Amendment Rights. As relief,

Plaintiff seeks injunctive relief and monetary and punitive damages.

II.    SUMMARY JUDGMENT STANDARD

       In order to prevail on a motion for summary judgment, the moving party must

show that the nonmoving party has no evidence to support his or her case or present

affirmative evidence that the nonmoving party will be unable to prove his or her case

at trial. See Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S. Ct. 2548, 91 L.

Ed. 2d 265 (1986). If the moving party successfully negates an essential element of

the nonmoving party’s case, the burden shifts to the nonmoving party to come


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forward with evidentiary material demonstrating a genuine issue of fact for trial. Id.

The “mere existence of some alleged factual dispute between the parties will not

defeat an otherwise properly supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 247–48, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A

dispute is “genuine” if the “evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Id., 477 U.S. at 248. A fact is “material” if it

“might affect the outcome of the suit under the governing law.” Id. The nonmoving

party must show more than the existence of a “metaphysical doubt” regarding the

material facts. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,

586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). Speculation or conjecture from a party

cannot create a genuine issue of material fact. See Cordoba v. Dillard’s, Inc., 419

F.3d 1169, 1181 (11th Cir. 2005). “A mere scintilla of evidence in support of the

nonmoving party will not suffice to overcome a motion for summary judgment.”

Young v. City of Palm Bay, Fla., 358 F.3d 859, 860 (11th Cir. 2004); see also

Celotex Corp., 477 U.S. at 324. The nonmoving party must either point to evidence

in the record or present additional evidence sufficient to withstand a directed verdict

motion at trial based on the alleged evidentiary deficiency. See Celotex Corp., supra;


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Owen v. Wille, 117 F.3d 1235, 1236 (11th Cir. 1997) (Rule 56 requires the

nonmoving party to go beyond the pleadings and by his or her own affidavits, or by

the depositions, documents, affidavits or declarations, admissions, interrogatory

answers or other materials on file designate specific facts showing that there is a

genuine issue for trial); Hammer v. Slater, 20 F.3d 1137 (11th Cir. 1994).

       Evidence presented by the nonmoving party in opposition to the motion for

summary judgment, and all reasonable factual inferences arising from it, must be

viewed in the light most favorable to him or her. See Adickes v. S. H. Kress & Co.,

398 U.S. 144, 157, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970); Jones v. Cannon, 174

F.3d 1271, 1282 (11th Cir. 1999). Nonetheless, the nonmoving party still bears the

burden of coming forward with sufficient evidence of every element that he or she

must prove. See Celotex Corp., 477 U.S. at 317. A motion for summary judgment

should be granted if “the movant shows that there is no genuine dispute as to any

material fact and that the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a); Celotex Corp., 477 U.S. at 322.

III.   MATERIAL FACTS

       As a federal inmate at FCIM during the time period most relevant to this case,

Plaintiff was first prescribed Ranitidine (also known as Zantac) in July of 2010 after


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complaints of burning in his chest, particularly when lying down (Doc. 70-10 at 1–2).

He was diagnosed with “Dyspepsia and other specified disorders,” which was further

identified as “Temporary/Acute,” and he was prescribed 150mg Ranitidine to be

taken twice daily (Doc. 70-10 at 2). Plaintiff was later diagnosed in April of 2012

with esophageal reflux (Doc. 70-10 at 3).

       Plaintiff’s prescription continued until September 12, 2014, when it was

cancelled. On the day before, Plaintiff had a medical visit with Defendant Dr. Kendes

Archer, who authorized the renewal of the Ranitidine prescription, noting Plaintiff’s

esophogeal reflux and “past medical hx significant for gerd” (Doc. 70-10 at 5). Dr.

Archer also ordered that an H-Pilori blood test be taken; the results of which were

negative (Docs. 70-10 at 5; 76 at 22; 70-10 at 16).

       However, Defendant Chief Pharmacist Katie Watson then cancelled the

prescription in light of a BOP Formulary requiring that those with Plaintiff’s

diagnosis be required to purchase Ranitidine as an over-the-counter medication from

the commissary (Doc. 70-10 at 11). Watson also noted in particular that Plaintiff’s

record of commissary purchases indicated a history of purchasing items known to

exacerbate his reflux symptoms (Docs. 70-10 at 11; 70-6). The 2013–2014 BOP

National Formulary, which was published on April 15, 2014, provided:


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       Non-indigent inmates must purchase all OTC strength “Ranitidine or
       Omeprazole” from the commissary (for: Relief of heartburn, acid
       indigestion, sour stomach, prn use, QD use for Ranitidine and GERD)
       unless they are being actively followed in a GI Chronic Care Clinic with
       documented appropriate laboratory findings (i.e. EGD) for the
       following: Severe GERD, Zollinger-Ellison Syndrome, Schatzki’s Ring,
       Barrett’s Esophagitis, Esophageal Stricture, previous GI Bypass or Ulcer
       Surgery, chronic oral steroid use in transplants, documentation of
       chronic need for NSAIDS with Prior History of GI Bleed and Short-
       Term Treatment of H. Pylori.

(Doc. 70-11 at 2) (emphasis supplied).

       Upon determining that Plaintiff’s condition did not qualify as one serious

enough for a Ranitidine prescription, Defendant Archer signed off on the cancellation

notice, stating he agreed with the conclusion that Plaintiff would need to purchase his

Ranitidine from the commissary (Docs. 70-10 at 10; 70-17 at 2). Defendant Watson

then prepared a form notifying Plaintiff that his Ranitidine prescription was cancelled

and he could henceforth buy Ranitidine from the commissary (Doc. 70-10 at 9).

       On September 30, 2014, Plaintiff communicated with Defendant Natalie Pelt,

an Assistant Health Services Administrator, regarding this change and sought

clarification as to whether he should “self-medicate.” Plaintiff was instructed to

speak with the pharmacy or with Defendant Health Administrator Gretchen Ryle on

the matter (Doc. 70-2 at 4). After making a separate inquiry as to whether he could

receive instruction on how much Ranitidine to take, Plaintiff sent an electronic

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message to Defendant Watson on October 8, 2014, stating that he had attempted to

purchase Ranitidine from the commissary but none was available. Plaintiff therefore

asked to have his prescription filled so he could receive the medication (Doc. 70-2 at

11–12). Plaintiff was referred to the pharmacy or to Ryle on the matter. Plaintiff also

attempted to communicate with Defendant Archer on the matter but was informed

that Archer was absent for a few days (Doc. 70-2 at 14). On October 14, 2014,

Plaintiff sent inquiry to Ryle on the matter and was informed he should sign up for

sick call (Doc. 70-2 at 16). On November 4, 2014, Plaintiff also sent an electronic

message to Defendant Connie Copeland, a Counselor, stating he was having difficulty

getting his prescription filled, to which he received a general mailbox reply stating

he should consult with the medical staff on the issue (Doc. 70-2 at 20). Also on

November 4, Plaintiff sent a message to Ryle, stating he went to sick call but was told

to watch the “call out sheet” for a future appointment; he was told he was scheduled

for a November 6 appointment (Doc. 70-2 at 19).

       On November 7, 2014, Plaintiff was seen by Defendant Alexander at the

medical clinic, during which time a lab test was ordered and Plaintiff was counseled

regarding how attention to his diet may reduce his symptoms (Doc. 70-10 at 13–14).

On November 12, 2014, Plaintiff sent an electronic message to Defendant Connie


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Copeland, requesting a “BP-8” grievance form so he could file a grievance over his

failure to receive his medication (Doc. 70-2 at 21). It is indicated that Plaintiff

received the form on November 17, and he submitted the informal/BP-8 grievance on

November 24 (Doc. 70-14 at 2).

       In the interim, on November 18, 2014, Defendant Ryle contacted Trust Fund

Supervisor Geri Jones (not a defendant) via email, regarding Plaintiff’s request for

a grievance form and more generally about the availability of Ranitidine (Doc. 70-8

at 9–10). Jones stated in response that Ranitidine was not available from “the

vendor” and that they had to get the medication from Walmart, which was not optimal

because Walmart could not supply enough for their needs (Doc. 70-8 at 10).

Defendant Ryle replied that Walmart would accommodate preorders of the Ranitidine

and stated, “Hope this helps” (Doc. 70-8 at 12). Jones replied that, even with pre-

ordering, the institution was running out of the medication (Doc. 70-8 at 12).

Defendant Ryle also brought this issue to the attention of Associate Warden Alice

Lowe (not a defendant) on November 19, 2014, by forwarding her email conversation

with Jones to her (Doc. 70-8 at 14).

       On December 4, 2014, Plaintiff sent the following electronic message to

Copeland:


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       I have tried for several weeks now to purchase Ranitidine from the
       commissary and they have been out of stock. I have also tried to
       purchase Tums as an alternative but they have been out of stock for two
       months. As you are aware my chronic care needs are worsening and I
       am not able to follow the suggestions from medical staff to self-treat my
       condition with the items available on commissary. My condition is
       causing me daily pain and I fear I will suffer permanent esophageal
       erosion. I request that you contact medical staff and have them issue me
       an emergency allotment of Ranitidine until such time as the commissary
       is restocked with a suitable alternative. Thank you.

(Doc. 70-2 at 24). Plaintiff sent similar messages on December 13, 15, and 17, 2014,

to Defendants Archer, Watson, and Ryle respectively, complaining of lack of access

to Ranitidine or Tums, stating that he was experiencing daily pain, and requesting

either an emergency allotment or a renewal of his prescription (Doc. 70-2 at 26, 28,

30). In each response, Plaintiff was essentially instructed to consult the pharmacy or

Ryle during sick call. On December 22, 2014, Plaintiff received a response to his

informal/BP-8 grievance, stating that Ranitidine was now in stock at the commissary

but also informing him that “policy doesn’t dictate all otc meds must be available”

(Docs. 70-3; 70-14 at 2–3). Plaintiff purchased Ranitidine from the commissary that

day (Doc. 70-6 at 1). Plaintiff also filed a formal/BP-9 grievance on December 24,

2014, in which he related his difficulty obtaining Ranitidine and his dissatisfaction

with the discontinuation of his prescription (Doc. 70-9 at 1). Defendant Warden

Nicole English responded to the formal/BP-9 grievance on January 20, 2015, stating

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that Plaintiff is required to purchase his medication at the commissary and that the

medication is available (Doc. 70-9 at 3).

       In the months that followed—until Plaintiff’s prison transfer away from FCIM

on September 16, 2015—records show that Plaintiff purchased Ranitidine from the

commissary only six times, on January 20, 2015, March 10, 2015, April 27, 2015,

May 18, 2015, June 1, 2015, and June 29, 2015 (Docs. 70-4, 70-6). Plaintiff does not

dispute this, but he asserts he attempted to purchase Ranitidine from the commissary

on other occasions but was told they were out of stock (Doc. 76 at 22). Plaintiff also

relates that, whereas his prescription was for 150mg tablets of Ranitidine, the

commissary sold only 75mg tablets in an insufficient number to supply him for the

entire week (Doc. 76 at 22).

       Plaintiff attests that upon his arrival at his new institution, Forrest City

Correctional Institution, in October of 2015, he was restarted on his prescription for

Ranitidine 150mg (Doc. 76 at 21). In October 12, 2016, Plaintiff informed Health

Services that, while he had taken Ranitidine for seven years, it appeared to no longer

be effective, and that he experiences reflux every night (Doc. 70-10 at 17). The

doctor discontinued his Ranitidine and started him on a prescription for Omeprazole

(Docs. 70-10 at 17–18; 76 at 21). Plaintiff states he continues to suffer from


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scratchiness in his throat, and he cannot speak for long periods of time or sing in

church, which he attributes to the time at FCIM that he was without Ranitidine (Doc.

76 at 22).

IV.    DISCUSSION

       A.     Defendant Dr. Archer

       This case largely hinges on the actions of Defendant Dr. Archer, for he was the

one in charge of Plaintiff’s medical care and the one who, by Archer signing the

cancellation notice, agreed on a medical basis to the cessation of Plaintiff’s Ranitidine

prescription. Dr. Archer states he based his decision upon review of the BOP

Formulary and Plaintiff’s GERD diagnosis (Doc. 70-17 at 2). While noting that

patients with more serious conditions, which include severe GERD, would qualify for

continuation of a Ranitidine prescription, Dr. Archer determined that Plaintiff’s

condition did not qualify as serious or severe (Doc. 70-17 at 2–3 & n.1). Dr. Archer

stated:

       The level and type of GERD Plaintiff has is not the type that would
       result in severe GERD or more serious conditions. In my opinion, if left
       untreated for over a year, let alone, three and a half months, Plaintiff’s
       GERD would not have been exacerbated.
               Reviewing patients records since December 22, 2014, it does not
       appear that he has had any GERD complications in the over four and a
       half year period since December 22, 2014, when he was able to purchase
       Ranitidine in the commissary.

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(Doc. 70-17 at 4).

       Thus, it was Dr. Archer’s medical opinion that Plaintiff’s GERD was not

serious enough to merit a prescription for Ranitidine under the BOP Formulary, and

that opinion has been borne out over time.

       In so stating, Dr. Archer also noted that, when he received notice of the fact

that Plaintiff was having difficulty obtaining Ranitidine from the commissary, that

notice arrived during the same week that the commissary had received its first

shipment of Ranitidine after the delay, and Plaintiff obtained Ranitidine shortly

thereafter (Doc. 70-17 at 3).

       In opposition, Plaintiff provides an affidavit from Daniel S. Fearnow, M.D., a

retired medical physician who is incarcerated at Plaintiff’s current institution (Doc.

76 at 25–26). Upon review of Plaintiff’s medical file, Dr. Fearnow determined that

Plaintiff was a chronic care GERD patient. As such, he opined that radiographic or

endoscopic testing should have been performed to “determine whether [Plaintiff’s]

treatment with Ranitidine 150mg./3x daily should be discontinued or changed in

some other way” (Doc. 76 at 25–26). Dr. Fearnow acknowledged, however, that

medical personnel at Forrest City Correctional Institution changed Plaintiff’s

prescription to Omeprazole without conducting such tests (Doc. 76 at 26). Dr.


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Fearnow stated that episodic treatment of GERD is not favored as it can cause

significant aggravation or degeneration of the esophagus, and he took Plaintiff’s

being switched to Omeprazole as a sign that his condition was advancing

symptomatically (Doc. 76 at 25–26). Plaintiff also submits an affidavit from Thomes

M. Lee, a registered surgical nurse, who stated that discontinuing Plaintiff’s

medication without further testing or an endoscopic exam was not advisable (Doc. 76

at 28).

          It is well settled that the government has a constitutional duty to provide

minimally adequate medical care to prisoners. Harris v. Thigpen, 941 F.2d 1495,

1504 (11th Cir. 1991). However, medical treatment violates the Eighth Amendment

“only when it is ‘so grossly incompetent, inadequate, or excessive as to shock the

conscience or to be intolerable to fundamental fairness.’” Id. at 1505 (citing Rogers

v. Evans, 792 F.2d 1052, 1058 (11th Cir. 1986)). Stating an Eighth Amendment

claim of denial of adequate medical care requires satisfying both an objective and

subjective component. Taylor v. Adams, 221 F.3d 1254, 1257 (11th Cir. 2000).

First, there must be conduct by prison officials which, objectively speaking, is

“sufficiently serious” to constitute a deprivation “denying the minimal civilized

measure of life’s necessities.” Id. (internal quotations omitted). Second, the prison


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officials must possess a subjective intent to use the medical deprivation as a means

of punishment. Id. (citations omitted).

       As to the objective prong, an objectively serious deprivation requires showing

an objectively “serious medical need.” Estelle v. Gamble, 429 U.S. 97, 104, 97 S. Ct.

285, 50 L. Ed. 2d 251 (1976). A serious medical need is “one that has been

diagnosed by a physician as mandating treatment or one that is so obvious that even

a lay person would easily recognize the necessity for a doctor’s attention.” Hill v.

DeKalb Reg’l Youth Det. Ctr., 40 F.3d 1176, 1186 (11th Cir. 1994); see Farmer v.

Brennan, 511 U.S. 825, 834, 114 S. Ct. 1970, 128 L. Ed. 2d 811 (1994) (serious

medical need is one that, if left unattended, “pos[es] a substantial risk of serious

harm.”).    In addition, an objectively serious deprivation requires showing the

response made by Defendants to that need was so deficient as to constitute “an

unnecessary and wanton infliction of pain.” Estelle, 429 U.S. at 105–06 (internal

quotation marks omitted); see Taylor, 221 F.3d at 1257; see also Adams v. Poag, 61

F.3d 1537, 1543–44 (11th Cir. 1995). While delay in providing medical treatment

can constitute deliberate indifference in violation of an inmate’s constitutional rights,

Estelle, 429 U.S. at 104–05, “[a]n inmate who complains that delay in medical

treatment rose to a constitutional violation must place verifying medical evidence in


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the record to establish the detrimental effect of delay in medical treatment to

succeed.” Townsend v. Jefferson Cty., 582 F.3d 1252, 1259 (11th Cir. 2009).

       As to the subjective prong, Plaintiff must demonstrate that Defendants acted

with an attitude of “deliberate indifference.” Estelle, 429 U.S. at 105. “Deliberate

indifference has three components: (1) subjective knowledge of a risk of serious

harm; (2) disregard of that risk; (3) by conduct that is more than mere negligence.”

Farrow v. West, 320 F.3d 1235, 1245–46 (11th Cir. 2003) (citing McElligott v. Foley,

182 F.3d 1248, 1255 (11th Cir. 1999) and Taylor, 221 F.3d at 1258 (stating that

defendant must have subjective awareness of an “objectively serious need” and that

his response must constitute “an objectively insufficient response to that need”)). The

official must be consciously aware of the medical condition and the need for effective

treatment and then callously or recklessly disregard it. See McElligott, 182 F.3d at

1257–58; Melton v. Abston, 841 F.3d 1207, 1224 (11th Cir. 2016). Ordinarily, there

is no constitutional violation when some measure of treatment is provided. Id. at

1259; see also Harris v. Thigpen, 941 F.2d 1495, 1504–05 (11th Cir. 1991).

However, if the official knew that the present course of treatment went beyond a

medical judgment call and was tantamount to no treatment at all, an Eighth

Amendment claim would then exist. Id. at 1257–58. Thus, a complete denial of


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readily available treatment for a serious medical condition constitutes deliberate

indifference. See Harris v. Coweta Cty., 21 F.3d 388, 393 (11th Cir. 1994).

However, where the inmate has received medical treatment, and the dispute is over

the adequacy of that treatment, courts should be reluctant to question the accuracy or

appropriateness of the medical judgments that were made. Harris, 941 F.2d at 1507

(quoting Waldrop v. Evans, 871 F.2d 1030, 1035 (11th Cir. 1989)). To do otherwise

would be “to constitutionalize claims that sound in tort law.” Hamm v. DeKalb Cty.,

774 F.2d 1567, 1575 (11th Cir. 1985) (quotation omitted). Similarly, a difference in

medical opinion as to the inmate’s diagnosis or course of medical treatment does not

support a claim of cruel and unusual punishment. Harris v. Thigpen, 941 F.2d at

1505; see also Ross v. Corizon Med. Servs., 700 F. App’x 914, 917 (11th Cir. 2017)

(unpublished but recognized as persuasive authority); Magwood v. Sec’y, Fla. Dep’t

of Corr., 652 F. App’x 841, 844 (11th Cir. 2016); Tucker v. Busbee, 619 F. App’x

868, 871 (11th Cir. 2015) (unpublished).

       An Eighth Amendment claim of deliberate indifference requires more than

negligence, even gross negligence. Farmer, 511 U.S. at 835–36; McElligott, 182 F.3d

at 1255. Medical malpractice, or negligence in diagnosis or treatment, does not rise

to the level of a constitutional violation. Estelle, 429 U.S. at 106; Taylor, 221 F.3d


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at 1258. “[A]s Estelle teaches, the question of whether governmental actors should

have employed additional diagnostic techniques or forms of treatment ‘is a classic

example of a matter for medical judgment’ and therefore not an appropriate basis for

grounding liability under the Eighth Amendment.” Adams, 61 F.3d at 1545 (quoting

Estelle, 429 U.S. at 107); see also Hamm, 774 F.2d at 1575; Williams v. Young, 695

F. App’x 503, 506 (11th Cir. 2017) (unpublished); Wallace v. Hammontree, 615 F.

App’x 666, 667–68 (11th Cir. 2015) (unpublished).

       The court does not find that Defendant Archer’s actions constituted deliberate

indifference. Defendant Archer exercised his medical judgment to determine that

Plaintiff’s GERD was not severe in form and agreed that Plaintiff could treat his

condition by purchasing Ranitidine from the commissary. He stated that Plaintiff’s

GERD was not of the type that would become severe and that significant exacerbation

would not occur even if his condition were left untreated for longer than a year.

Although Plaintiff states his condition has worsened and he now has a new

prescription, Dr. Archer’s review of his medical record indicated a lack of

complications from GERD. The affidavit of Dr. Fearnow indicates that further testing

should have been performed to better determine Plaintiff’s treatment, but he




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acknowledged Plaintiff’s prescription was changed at Forrest City Correctional

Institution without the benefit of further testing.

       At best, Plaintiff establishes a case of negligence. While Plaintiff submits

affidavits containing medical opinions as to what tests should have been administered

and ostensibly what different course of medical treatment might be recommended

thereon, different medical opinions do not form the basis of a constitutional claim of

deliberate indifference, nor do claims based on differing diagnostic procedures.

Furthermore, despite Plaintiff’s subjective complaints, as Defendant Archer noted,

there is scant evidence in Plaintiff’s medical record to even suggest that his condition

has been exacerbated or further complicated due to the temporary unavailability of

Ranitidine or the lesser amounts that Plaintiff was able to purchase from the

commissary. Finally, it bears mention that the assumption in Plaintiff’s case was not

that he was going to be deprived of Ranitidine, but that he was going to have to

obtain it on his own through the commissary. Thus, Dr. Archer’s subjective

impression was that Plaintiff would be able to obtain his medication as necessary to

attend to his needs. And, as Dr. Archer noted, by the time he was made subjectively

aware that Plaintiff was not able to obtain Ranitidine because of the supply problem

at the commissary, a new stock of Ranitidine was already arriving.


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       B.     Remaining Defendants

       As for the other Defendants in this action, Defendants Connie Copeland,

Gretchen Ryle, Natalie Pelt, Katie Watson, Melanie Alexander, and Nicole English,

all in varying degrees acted in accordance with Defendant Archer’s medical decision.

Although Defendant Watson determined that Plaintiff’s Ranitidine prescription was

subject to cancellation in accordance with the BOP Formulary, the cancellation notice

was first sent to Archer for verification that Plaintiff’s diagnosis indeed met the

criteria for cancellation. While Defendant Alexander saw Plaintiff as a Physician

Assistant at the medical clinic, she neither changed Plaintiff’s diagnosis nor treated

him in a manner inconsistent with Archer’s diagnosis. Plaintiff communicated with

virtually all of the Defendants regarding his Ranitidine, and he was informed to attend

sick call, consult the pharmacy, or contact Defendant Ryle regarding its availability.

And, as Plaintiff’s questions were routinely funneled to Defendant Ryle, she

contacted others within the organization regarding the supply chain and what might

be done to improve it. Defendant Warden English, in response to Plaintiff’s formal

grievance, informed Plaintiff that he should purchase Ranitidine from the

commissary, as it was then available.




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       Normally, it is not deliberate indifference for nurses or administrative

personnel to rely on information and direction provided by qualified medical

professionals in carrying out their duties. Unless such an individual could have

reasonably deduced that following such medical direction was tangibly wrong and

would result in substantive harm to the inmate, the officer should not be subject to

liability. See Townsend v. Jefferson Cty., 601 F.3d 1152, 1159 (11th Cir. 2010)

(affirming verdict of no liability where plaintiff had not “presented evidence that her

situation was so obviously dire that two lay deputies must have known that a medical

professional had grossly misjudged [the prisoner’s] condition”); see also Bauer v.

Kramer, 424 F. App’x 917, 919 (11th Cir. 2011) (unpublished) (finding no deliberate

indifference where a nurse followed a doctor’s orders to provide medication to an

inmate, in the absence of any indication that it was objectively unreasonable to do

so); Holloway v. Delaware Cty. Sheriff, 700 F.3d 1063, 1075 (7th Cir. 2012) (holding

that nurses may generally defer to instructions given by physicians unless it is clear

that doing so will likely cause significant harm to the inmate).

       Correspondingly, a supervisory defendant is entitled to rely on the judgments

of medical personnel. See Williams v. Limestone Cty., Ala., 198 F. App’x 893, 897

(11th Cir. 2006) (unpublished). A claim of medical indifference cannot generally be


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made against non-medical personnel unless they personally involved themselves with

a denial of treatment or deliberately interfered with the medical treatment. Miltier v.

Beorn, 896 F.2d 848, 854 (4th Cir. 1990). Unless there is direct evidence to show

that a warden or other supervisory official should not rely on such medical expertise,

“it would be an unprecedented extension of the theory of supervisory liability to

charge . . . wardens, not only with ensuring that [the inmate] received prompt and

unfettered medical care, but also with ensuring that their subordinates employed

proper medical procedures—procedures learned during several years of medical

school, internships, and residencies.” Id.; see also Keith v. DeKalb Cty., Ga., 749

F.3d 1034, 1050 (11th Cir. 2014) (the law does not require that non-medical officials

ignore the determination and recommendation of medical staff); Dolihite v. Maughon

ex rel. Videon, 74 F.3d 1027, 1054–55 (11th Cir. 1996); Acosta v. Watts, 281 F.

App’x 906, 908 (11th Cir. 2008) (finding no liability against prison administrator

where administrator’s decision-making was grounded in decision made by medical

personnel).

       More generally, government officials may not be held liable for the

unconstitutional conduct of their subordinates under a theory of respondeat superior.

See Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658, 691, 98 S. Ct. 2018,


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56 L. Ed. 2d 611 (1978) (finding no vicarious liability for a municipal “person” under

42 U.S.C. § 1983) “Because vicarious liability is inapplicable to [ ] § 1983 suits, a

plaintiff must plead that each Government-official defendant, through the official’s

own individual actions, has violated the Constitution.” Ashcroft v. Iqbal, 556 U.S.

662, 676, 129 S. Ct. 1937, 173, L. Ed. 2d 868 (2009).             Under Iqbal, “each

Government official, his or her title notwithstanding, is only liable for his or her own

misconduct.” Id., 556 U.S. at 677. “[S]upervisors are liable under [section] 1983

‘either when the supervisor personally participates in the alleged constitutional

violation or when there is a causal connection between actions of the supervising

official and the alleged constitutional violation.’” Myers v. Bowman, 713 F.3d 1319,

1328 (11th Cir. 2013) (quoting Keating v. City of Miami, 598 F.3d 753, 762 (11th

Cir. 2010)). Facts sufficient to establish a causal connection include those “which

support an inference that the supervisor directed the subordinates to act unlawfully

or knew that the subordinates would act unlawfully and failed to stop them from

doing so.” Keating, 598 F.3d at 762 (internal quotation omitted). The factual

allegations must plausibly show that the supervisory official acted with the same

mental state required to establish a constitutional violation against his subordinate.

See Franklin v. Curry, 738 F.3d 1246, 1250 (11th Cir. 2013).


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       Furthermore, filing a grievance with a supervisory person does not alone make

the supervisor liable for the allegedly violative conduct brought to light by the

grievance, even if the grievance is denied. Wayne v. Jarvis, 197 F.3d 1098, 1106

(11th Cir. 1999); Weaver v. Toombs, 756 F. Supp. 335, 337 (W.D. Mich. 1989),

aff’d, 915 F.2d 1574 (6th Cir. 1990); see also Gallagher v. Shelton, 587 F.3d 1063,

1069 (10th Cir. 2009); Bellamy v. Bradley, 729 F.2d 416, 421 (6th Cir. 1984).

Knowledge imputed to the supervisor “must be so pervasive that the refusal to

prevent harm rises to the level of a custom or policy of depriving inmates of their

constitutional rights.” Tittle v. Jefferson Cty. Comm’n, 10 F.3d 1535, 1542 (11th Cir.

1994). The failure to act or implement policy must be in the face of repeated

violations or other indicators signifying a strong likelihood that the situation will

recur. See Harris v. City of Marion, 79 F.3d 56, 58–59 (7th Cir. 1996). Supervisors

are generally entitled to rely on their subordinates to respond appropriately to

situations absent clear or widespread evidence to the contrary.

       Beyond the fact that Defendants’ actions were guided or governed by

Plaintiff’s medical status as determined by Dr. Archer, the question becomes whether

Defendants were deliberately indifferent with regard to the lack of supply of

Ranitidine in the commissary. Again, the Court finds Defendants’ actions were


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negligent at best. As in the Eighth Amendment context, it is well established overall

that allegations of negligent conduct do not state a claim of constitutional proportion

and are therefore not actionable. Daniels v. Williams, 474 U.S. 327, 106 S. Ct. 662,

88 L. Ed. 2d 662 (1986); Davidson v. Cannon, 474 U.S. 344, 106 S. Ct. 668, 88 L.

Ed. 2d 677 (1986). While there seems to have been a certain amount of ineptitude in

locating and obtaining sufficient amounts of Ranitidine for the institution, this does

not evince deliberate indifference. It is clear that effort was made to obtain a supply;

Plaintiff does not show any deliberate intent to deprive him of his medication.

Defendants’ actions might not be cause for commendation, but they do not form the

basis of a constitutional claim.

       C.     Qualified Immunity

       As part of their summary judgment motion, Defendants assert qualified

immunity from suit. The doctrine of qualified immunity shields government officials

from individual capacity suits against them for acts that do not violate a clearly

established statutory or constitutional right of which a reasonable person would have

known given the circumstances and information possessed by the official at the time

of the conduct. Hope v. Pelzer, 536 U.S. 730, 739, 122 S. Ct. 2508, 153 L. Ed. 2d

666 (2002); McElligott, 182 F.3d at 1260. Qualified immunity seeks to ensure that


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individuals can reasonably anticipate when their conduct may give rise to liability,

and hence, liability only attaches if the contours of the right allegedly violated are

sufficiently clear that a reasonable person would understand that what he is doing

violates that right. McElligott, 182 F.3d at 1260 (citing United States v. Lanier, 520

U.S. 259, 270, 117 S.Ct. 1219, 137 L. Ed. 2d 432 (1997)).

       The qualified immunity inquiry usually involves two prongs. To defeat

qualified immunity a plaintiff must first show that a constitutional or statutory right

has been violated, and second, a plaintiff must show that the right violated was clearly

established. Danley v. Allen, 540 F.3d 1298, 1306 (11th Cir. 2008). Courts are free

to decide which of the two prongs of the qualified immunity analysis should be

addressed first, and if the plaintiff fails as to one prong, then qualified immunity

exists. See Pearson v. Callahan, 555 U.S. 223, 236, 129 S. Ct. 808, 818, 172 L. Ed.

2d 565 (2009).

       Here, the Court has determined that Plaintiff has failed to establish the

violation of a constitutional right; therefore, it is unnecessary to complete the

qualified immunity analysis and determine whether that right was clearly established.

       D.     Public Health Service Immunity




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       Finally, though not necessary to the outcome of the case, it bears noting that

Defendants Watson and Alexander assert that they are immune from suit because they

are employees of the United States Public Health Service (PHS). The Supreme Court

has held that, under 42 U.S.C. § 233(a), PHS officers and employees are not

personally subject to liability under Bivens for harms caused during the course of

their employment. See Hui v. Castaneda, 559 U.S. 799, 801–02, 130 S. Ct. 1845,

1848, 176 L. Ed. 2d 703 (2010). These Defendants are thereby immune from actions

that arise from the performance of their medical or related functions within the scope

of their employment, to include medical, surgical, dental, or related functions. Id. at

805–06.

       For the aforementioned reasons, the Court ORDERS:

       1.     Defendants’ Motion for Summary Judgment (Doc. 70) is GRANTED.

       2.     All other pending motions are DENIED as moot.

       3.     Judgment shall be entered accordingly and this case closed.

       ORDERED on this 7th day of April, 2020.


                                          s/L.A. Collier
                                          Lacey A. Collier
                                          Senior United States District Judge



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